Case 3:17-cv-00072-NKM-JCH Document 275 Filed 03/15/18 Page 1 of 4 Pageid#: 1941

                                                                                             03/15/2018


                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF VIRGINIA
                                    Charlottesville Division

  ELIZABETH SINES, et al.,                      )
       Plaintiffs,                              )       Civil Action No. 3:17cv00072
                                                )
  v.                                            )       ORDER
                                                )
  JASON KESSLER, et al.,                        )       By:    Joel C. Hoppe
       Defendants.                              )       United States Magistrate Judge

         This matter is before the Court on Plaintiffs’ Motion to Strike Defendant Loyal White

  Knights of the Ku Klux Klan’s (“LWK”) Response to the Court’s January 3, 2018 Order and For

  an Entry of Default. ECF No. 248; see Def. LWK’s Pro Se Resp. to Order 1, ECF No. 228;

  Order of Jan. 3, 2018, at 1–3, ECF No. 166. Defendant LWK has not filed a response to

  Plaintiffs’ motion.

         Plaintiffs’ original Complaint asserted claims against several Defendants arising out of

  events that occurred in Charlottesville on August 11 and 12, 2017. ECF No. 1. The Complaint

  identified Defendant LWK as an unincorporated association, Va. Code § 8.01-15, based in

  Pelham, North Carolina. Compl. ¶ 44. Plaintiffs timely filed a process server’s affidavit showing

  that on October 24, 2017, a summons and copy of the Complaint were served on LWK’s

  registered agent in Charlotte, North Carolina. ECF No. 56; see Fed. R. Civ. P. 4(h)(1), (l)(1),

  (m). Defendant LWK had until November 14, 2017, to file a responsive pleading. Fed. R. Civ. P.

  12(a)(1)(A)(i). On December 11, non-party Amanda Barker filed a “Response to Summons,”

  purportedly on LWK’s behalf, denying the allegations in the Complaint. ECF No. 146. Mrs.

  Barker identified herself as “Imperial Kommander” of the LWK, but she did not indicate that she

  was a licensed attorney, and she did not note her appearance as an attorney on LWK’s behalf in

  this matter. ECF No. 146-1; see Order of Jan. 3, 2018, at 1; W.D. Va. Gen. R. 6(a)–(b), (d), (i).



                                                    1
Case 3:17-cv-00072-NKM-JCH Document 275 Filed 03/15/18 Page 2 of 4 Pageid#: 1942




  On January 3, 2018, the Court entered an Order directing Defendant LWK to retain a licensed

  attorney and to have that attorney note his or her appearance in this matter and file a proper

  responsive pleading to the Complaint within fourteen days. Order of Jan. 3, 2018, at 1–2; see

  also Pls.’ First Mot. to Strike 1–5, ECF No. 155. The Order explained that “‘artificial entities’”

  such as Defendant LWK “‘may appear in the federal courts only through licensed counsel,’” and

  that Mrs. Barker could “not represent LWK in this Court” because “she does not appear to be a

  licensed attorney.” See Order of Jan. 3, 2018, at 1 (quoting Rowland v. Calif. Men’s Colony, 506

  U.S. 194, 202–03 (1993)). The Order also expressly warned that the failure to comply within the

  time allowed would result in the pro se “Response to Summons” being stricken and default being

  entered against Defendant LWK. See id. at 2.

         Plaintiffs filed their first Amended Complaint on January 5, 2018. ECF No. 175. The

  Amended Complaint again identified Defendant LWK as an unincorporated association that is

  subject to suit under Virginia Code § 8.01-15. Am. Compl. ¶ 43; see Fed. R. Civ. P. 9(a),

  17(b)(3). In late February, Plaintiffs filed a process server’s affidavit showing that on February 1,

  2018, the process server personally delivered a summons addressed to Defendant LWK and a

  copy of the Amended Complaint to an individual identified as “Christopher Barker, Leader,

  authorized to accept service.” ECF No. 239; see Fed. R. Civ. P. 5(a)–(b). Defendant LWK had

  fourteen days from the date of service (i.e., until February 15, 2018) to properly respond to the

  Amended Complaint. Fed. R. Civ. P. 15(a)(3); see also Order of Jan. 3, 2018, at 1–2. On

  February 15, the Court received a letter from Mrs. Barker, again purportedly filed on LWK’s

  behalf, indicating that Defendant LWK would neither comply with the Court’s Order nor

  properly file a responsive pleading within the time allowed:

         We have received your letter, dated 1/3/18, concerning our representation. If this
         action proceeds to trial we will, of course, arrive with appropriate counsel. The

                                                   2
Case 3:17-cv-00072-NKM-JCH Document 275 Filed 03/15/18 Page 3 of 4 Pageid#: 1943




         law, as we understand it, states that organizations and corporations should have
         legal counsel in federal court. And it specifically states (In) court. We are not in a
         court of law at this time, and only responding to motions and orders as they are
         issued. Further, we have—and may exercise—our full rights to representation, as
         The Loyal White Knights consist of only myself, Amanda Barker, and my
         husband Chris Barker . . . . We are, as stated above, two individuals, who will
         appear as individuals at all appropriate times. We also ask at this time that you
         dismiss the entire action against us . . . .
  Def. LWK’s Pro Se Resp. to Order 1 (paragraph breaks omitted). Amanda and Chris Barker are

  not named in their personal capacities as “individual” defendants to this action. See generally

  Am. Compl. 1, 8–18. As of today’s date, a licensed attorney has neither entered an appearance

  nor filed a responsive pleading on behalf of Defendant LWK. Plaintiffs have moved to strike the

  pro se “response” letter as improperly filed and for entry of Defendant LWK’s default.

         Although individuals “may plead and conduct their own cases” in federal court, 28

  U.S.C. § 1654, an organization that is a party to a lawsuit “cannot appear pro se as an artificial

  entity in any federal court litigation,” Tweedy v. RCAM Title Loans, LLC, 611 F. Supp. 2d 603,

  605 n.2 (W.D. Va. 2009) (emphasis added). And, because Mrs. Barker apparently concedes that

  she is not an attorney, see Order of Jan. 3, 2018, at 1–2, she cannot properly sign or file any

  documents on Defendant LWK’s behalf in this case. Freedom Hawk Kayak v. Ya Tai Elec.

  Appliances Co., 908 F. Supp. 2d 763, 766 n.2 (W.D. Va. 2012) (disregarding “corporation’s pro

  se filings” submitted by non-attorney individual purporting to be the corporate defendant’s “sole

  owner” because “[a] corporation may not appear pro se”); see also Fed. R. Civ. P. 11(a). The

  record in this matter shows that Defendant LWK was served with a summons and copy of the

  Amended Complaint, and that, despite being on notice of its obligation to do so, LWK “has

  failed to plead or otherwise defend” against this action within the time allowed. Fed. R. Civ. P.

  55(a); see Capital Concepts, Inc. v. CDI Media Grp. Corp., No. 3:14cv14, 2014 WL 3748249, at

  *4 (W.D. Va. July 29, 2014) (“[R]eturns of service like those present on this record act as prima


                                                   3
Case 3:17-cv-00072-NKM-JCH Document 275 Filed 03/15/18 Page 4 of 4 Pageid#: 1944




  facie evidence of valid service.”); Tweedy, 611 F. Supp. 2d at 605 n.2 (“[T]he clerk did not

  acknowledge the [pro se] response as an answer and properly entered RCAM’s default pursuant

  to Rules 12(a)(1)(A)(i) and 55(a).”); Order of Jan. 3, 2018, at 1–2.

         Accordingly, Plaintiffs’ Motion, ECF No. 248, is hereby GRANTED. The Clerk is

  DIRECTED to STRIKE Defendant LWK’s pro se responses, ECF Nos. 146, 228, from the

  docket as improperly filed, and to ENTER Defendant LWK’s default in accordance with Rule

  55(a) of the Federal Rules of Civil Procedure.

         It is so ORDERED.

         The Clerk shall deliver a copy of this Order to counsel of record and to Amanda and

  Christopher Barker.

                                                ENTER: March 15, 2018



                                                Joel C. Hoppe
                                                United States Magistrate Judge




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